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12
                         UNITED STATES DISTRICT COURT
13
14                    SOUTHERN DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,                Case No.:     21-CR-2542-TWR
16
                 Plaintiff,
17                                            Honorable Todd W. Robinson

18         v.                                 UNOPPOSED MOTION TO IMPOSE
                                              RESTITUTION CLAIM DEADLINE
19   GLENN ARCARO,
20
                 Defendant.
21
22        The United States of America, by and through its attorneys, respectfully moves
23 the Court to close the deadline for submission of Victim Impact Statements (“VIS”)
24 thereby ending the time to claim restitution on December 16, 2022, at 5:00 p.m. PST.
25 The undersigned has contacted defense counsel concerning this motion and Defendant
26 ARCARO does not oppose.
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 1                                            I.
 2                             STATEMENT OF THE CASE
 3        On September 1, 2021, a single-count Information was filed in the Southern
 4 District of California charging Glenn Arcaro with conspiracy to commit wire fraud.
 5 Doc. No. 1. On that same date, Arcaro pleaded guilty to the Information as set forth in
 6 a plea agreement. Doc. No. 6. On October 12, 2022, the United States filed an
 7 unopposed motion to allow alternative victim notification. Doc. No. 15. The Court
 8 granted the motion on the same day. Doc. No. 18. On September 16, 2022, Arcaro was
 9 sentenced by this Court. Doc. No. 52. At the sentencing hearing, this Court set a
10 restitution hearing for January 12, 2023. Doc. No. 52.
11                                            II.
12                               STATEMENT OF FACTS
13        The United States has endeavored to ensure that all potential victims have had
14 the ability to submit a VIS and share in restitution. As outlined in the joint September
15 1, 2022 motion to continue restitution and forfeiture –
16        “[The] United States has been exhaustively attempting to locate and contact all
17        potential victims of the BitConnect scheme. This required the FBI to post a victim
18        seeking questionnaire on their website. From that initial potential victim intake,
19        the FBI began vetting the victims’ claims. Simultaneously, the U.S. Attorney’s
20        Office Victim Witness Coordinator contacted the potential victims to have them
21        begin filling out Victim Impact Statements (“VIS”). In addition, many of the
22        victims were in foreign countries requiring either concurrence from the Office of
23        International Affairs that the foreign victims could be contacted directly by the
24        FBI, or more ponderously, contact could only be made after sending a Mutual
25        Legal Assistance Treaty (“MLAT”) request. From late Fall 2021 to the present,
26        the United States has been working through these multiple avenues of approach
27        in assembling facts and resources required to perform a restitution analysis.”
28 Doc. No. 39 at 2.
                                               2                                  21-CR-2542-TWR
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 1           As of the date of this motion, the U.S. Attorney’s Office continues to receive
 2 sporadic VIS submissions which are promptly transmitted to the Cleveland FBI for
 3 vetting. The FBI attempts to verify these claims and as of today is up to date on vetting
 4 of all potential restitution claims.
 5           Additionally, on November 11, 2022, an attorney contacted the U.S. Attorney’s
 6 Office and reported he represents ‘potentially hundreds’ of BitConnect victims. The
 7 office has received approximately 100 victims claims from this attorney and anticipates
 8 receiving more.
 9           The United States now calculates approximately 506 victims will be paid
10 approximately $10,424,303 in restitution. While both numbers are expected to increase
11 slightly before sentencing, it will almost certainly be far less than the approximately
12 $39 million of liquidated Arcaro-cryptocurrency. It is the United States’ desire to pay
13 maximum restitution to maximum victims. However, the potential VIS and restitution
14 process must be ended to allow thorough vetting of claims in advance of the restitution
15 hearing. Therefore, the thirteen-month window that has existed for VIS submissions
16 must now be closed.1
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      Certainly, if a victim discovers further losses, they have 60 days to petition the Court for an
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     amended restitution order pursuant to the procedures outlined in 18 U.S.C. § 3664(d)(e).
                                                         3                                        21-CR-2542-TWR
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1                                           IV.
2                                    CONCLUSION
3        The United States respectfully requests that the Court grant this motion to cease
4 acceptance of VIS and restitution claims on December 16, 2022, at 5:00 p.m. PST.
5
         DATED: December 2, 2022                      RANDY S. GROSSMAN
6                                                     United States Attorney
7
                                                      /s/ Carl F. Brooker, IV
8                                                     Carl F. Brooker, IV
                                                      Mark W. Pletcher
9
                                                      Lisa J. Sanniti
10                                                    Assistant U.S. Attorneys
11                                                    GLENN S. LEON
                                                      Chief
12
13                                                    /s/ Kevin Lowell
                                                      Kevin Lowell
14                                                    Trial Attorney
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